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                    UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                   )     JUDGE CHRISTOPHER A. BOYKO
                                            )
                 Plaintiff,                 )     CASE NO.1:05CR519-011
                                            )
       -vs-                                 )
                                            )
DEBRA GLASS,                                )
                                            )
                 Defendant(s).              )     ORDER



       Defendant, Debra Glass, was sentenced by this Court on March 31, 2006 to 2

years Probation on each of Counts 12 and 23 to be served concurrently, Restitution in

the amount of $939.46, joint and several, and Mental Health Aftercare. Defendant

entered a plea of guilty to Counts 12, and 23 of an indictment charging 18 U.S.C. 513(a)

and 2 - Uttering Forged Securities and 18 U.S.C. 1708 and 2 - Theft of Mail, Aiding and

Abetting, respectively.

       The Court received a Violation Report from the Pretrial/Probation office

recommending the Court issue a summons for Defendant to appear for Probation

Revocation Hearing. The Violation Report listed the nature of each noncompliance:

(1) Defendant failed to attend mental health counseling; (2) Defendant failed to submit

timely Monthly Supervision Reports since February, 2007; (3) Defendant failed to report

for scheduled appointments on January 4, 2008 and January 25, 2008; (4) Defendant

has not made a payment towards restitution since October, 2007; (5) Defendant did not

report to the Probation Office when she moved; and (5) Defendant is residing with
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Jeffrey Brown, a convicted felon currently on Parole with the State of Ohio. Defendant,

represented by counsel, appeared before this Court on February 22, 2008.

        Lisa Surman, Probation Officer, confirmed each noncompliance and

recommended the Court extend Defendant’s Probation one year.

        Counsel for Defendant stated Defendant admits each violation and, although

Defendant is attentive to counsel, has been inattentive and neglectful of her

responsibilities to the Court and Probation Officer.

        The Government had no objections to continuing Defendant’s Probation one

year.

        The Court orders:

                 •   The conditions of Probation extended one year;

                 •   The Defendant to report to the Probation Officer the first Monday of

                     each month;

                 •   Random home visits by Probation;

                 •   The Defendant to make monthly restitution payments; and,

                 •   The Defendant to participate in Mental Health Aftercare as

                     instructed by the Probation Officer.

         IT IS SO ORDERED.


                                    s/Christopher A. Boyko
                                    CHRISTOPHER A. BOYKO
                                    United States District Judge



 February 25, 2008
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